   Case 3:18-cv-02293-GC-RLS Document 159-5 Filed 12/03/19 Page 1 of 2 PageID: 5125




                                               EXHIBIT A

                             List of Bar Memberships for Edward D. Totino


                           Name and Address of the Official or     Date of                Bar
      State Bars                                                               Status
                            Office Maintaining the Bar’s Roll     Admission              Number

                          California State Bar
California                180 Howard St.                         12/13/1993   Active     169237
                          San Francisco, CA 94105

                          New York State Bar
New York                  One Elk Street                         09/19/2007   Active     4531240
                          Albany, NY 12207
                          The District of Columbia Bar
Washington, D.C.          901 4th Street, NW                     05/12/2006   Inactive   497464
                          Washington, DC 20001

 Court Admissions

                          Royal Federal Building &
U.S. District Court for
                          United States Courthouse
the Central District of                                          12/13/1993   Active
                          255 East Temple Street
California
                          Los Angeles, CA 90012

                          Robert T. Matsui
U.S. District Court for
                          United States Courthouse
the Eastern District of                                          10/15/2007   Active
                          501 I Street
California
                          Sacramento, CA 95814

                          Phillip Burrton Federal Building &
U.S. District Court for
                          United States Courthouse
the Northern District                                            04/05/2006   Active
                          450 Golden Gate Avenue
of California
                          San Francisco, CA 94102

                          James M. Carter & Judith N. Keep
U.S. District Court for
                          United States Courthouse
Southern District of                                             12/08/2003   Active
                          333 West Broadway
California
                          San Diego, CA 92101

                          Daniel Patrick Moynihan
U.S. District Court for
                          United States Courthouse
Southern District of                                             09/19/2007   Active
                          500 Pearl Street
New York
                          New York, NY 10007
   Case 3:18-cv-02293-GC-RLS Document 159-5 Filed 12/03/19 Page 2 of 2 PageID: 5126




                         Thurgood Marshall
U.S. Court of Appeals
                         United States Courthouse
for Second Circuit                                     05/05/2008   Active
                         40 Foley Square
(NY)
                         New York, NY 10007

                         James R. Browning
                         United States Courthouse
U.S. Court of Appeals
                         95 7th St.                    03/11/2004   Active
for Ninth Circuit (CA)
                         San Francisco, CA 94103
